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                          UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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11   DAVID DAVID,                                  Case No. 1:20-cv-01347-SAB

12                   Plaintiff,                    ORDER ADVISING PARTIES OF STAY OF
                                                   ACTION PURSUANT TO GENERAL ORDER
13          v.                                     615

14   COMMISSIONER OF SOCIAL
     SECURITY,
15
                     Defendant.
16

17

18         On September 22, 2020, David David (“Plaintiff”) filed this action seeking judicial

19 review of a final decision of the Commissioner of Social Security (“Commissioner”) denying his
20 application for disability benefits pursuant to the Social Security Act. On September 23, 2020,

21 an order issued ordering that the summons and complaint be served. On September 24, 2020, the

22 summons was returned executed.

23         On April 14, 2020, General Order Number 615 issued staying all Social Security actions

24 filed after February 1, 2020 until the Commissioner may begin normal operations at the Office of

25 Appellate Hearings Operations and may resume preparation of a certified copy of the

26 administrative record.
27         Accordingly, the parties are HEREBY NOTIFIED that pursuant to General Order

28 Number 615, this action has been stayed and the stay will be automatically lifted when the


                                                   1
               Case 1:20-cv-01347-SAB Document 7 Filed 09/25/20 Page 2 of 2


 1 Commissioner files the certified copy of the administrative record. See E.D. Cal. G.O. No. 615,

 2 ¶¶ 6, 10; see also ¶ 11 (setting forth good cause requirement to request lifting of stay in a specific

 3 case).

 4
     IT IS SO ORDERED.
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 6 Dated:      September 25, 2020
                                                          UNITED STATES MAGISTRATE JUDGE
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